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            IN THE UNITED STATES DISTRICT COURT
           FOR THE NORTHERN DISTRICT OF GEORGIA
                      ATLANTA DIVISION

DANA LYNN ZAHEDI and            :
REZA ZAHEDI,                    :
                                :
      Plaintiffs,               :
                                :
v.                              :            Civil Action File No.:
                                :
THE BANK OF NEW YORK MELLON :                1:19-cv-02291-ELR-JKL
TRUSTEE FKA THE BANK OF NEW :
YORK, AS TRUSTEE FOR THE        :
CERTIFICATE HOLDERS OF CWMBS :
INC., ALTERNATIVE LOAN TRUST :
2006-8T1 MORTGAGE PASS          :
THROUGH CERTIFICATES SERIES :
2006-7; BAYVIEW LOAN SERVICING, :
LLC; and RUBIN LUBLIN, LLC,     :
                                :
      Defendants.               :

       PLAINTIFFS’ AMENDED COMPLAINT FOR DAMAGES

     COME NOW, DANA LYNN ZAHEDI AND REZA ZAHEDI (“Plaintiffs”)

and files this Amended Complaint for Damages against THE BANK OF NEW

YORK MELLON TRUSTEE F/K/A THE BANK OF NEW YORK AS TRUSTEE

FOR THE CERTIFICATE HOLDERS OF CWMBS INC ALTERNATIVE LOAN

TRUST 2006-8T1 MORTGAGE PASS THROUGH CERTIFICATES, SERIES

2006-7 (“BNY”), BAYVIEW LOAN SERVICING, LLC (“Bayview”), and RUBIN


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LUBLIN, LLC (“Rubin”)(BNY, Bayview, and Rubin shall collectively be referred

to as “Defendants”) and in support hereof shows this Court the following:

                                  AMENDMENT

 1.   Plaintiffs file this Amended Complaint against Defendants as a matter of

      course according to Federal Rules of Civil Procedure 15(a)(1)(B).

 2.   Plaintiffs file this Amended Complaint within twenty-one (21) days of

      Defendants BNY and Bayview’s Motion to Dismiss, filed on September 30,

      2019; therefore, Plaintiffs may amend as a matter of course without the

      opposing party’s written consent or this Court’s leave.

 3.   Plaintiffs file this Amended Complaint within twenty-one (21) days of

      Defendant Rubin’s Motion to Dismiss, filed on September 30, 2019;

      therefore, Plaintiffs may amend as a matter of course without the opposing

      party’s written consent or this Court’s leave.

                        PARTIES AND JURISDICTION

 4.   Plaintiffs are residents of the State of Georgia.

 5.   BNY is a Pennsylvania National Association, is registered to do business in

      the State of Georgia, and may be served with process via its Registered Agent

      Peter Lublin located at 3145 Avalon Ridge Place, Suite 100, Peachtree

      Corners, Georgia, 30071.

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6.   Bayview is a Delaware limited liability company, is registered to do business

     in the State of Georgia, and may be served with process via its Registered

     Agent Corporation Service Company located at 40 Technology Parkway

     South, Suite 300, Norcross, Georgia.

7.   Rubin is a Georgia limited liability company and may be served with process

     via its Registered Agent Peter Lublin located at 3145 Avalon Ridge Place,

     Suite 100, Peachtree Corners, Georgia, 30071.

8.   On or about May 21, 2019 Defendants BNY and Bayview filed a Notice of

     Removal from Fulton County Superior Court to this Court (DN 1) and

     Defendant Rubin consented to the removal of the action; therefore,

     jurisdiction and venue are proper in this Court.

                   FACTS COMMON TO ALL COUNTS

                              Procedural History

9.   On or about October 31, 2005, Plaintiffs closed a real estate transaction for

     the purchase of the real property subject to this lawsuit: 3950 Spalding Drive,

     Atlanta, Georgia 30350 (the “Property”).

10. In August 26, 2009, during the financial downturn that drastically impacted

     the Nation’s real estate economy, Plaintiffs began to experience financial

     hardship and applied for a loan modification with Bank of America, N.A.,

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    (“BOA”) Defendant BNY’s predecessor-in-interest regarding the security

    deed filed for record on 11/15/2005, and recorded in Deed Book 41350, Page

    300, Fulton County property records (the “Security Deed”).

11. During the loan modification process with BOA and its mortgage servicer,

    BOA required Plaintiffs to pay $6,000.00 a year for flood insurance in

    addition to Plaintiffs’ regular mortgage payment, which caused Plaintiffs

    significant hardship.

12. Ultimately BOA realized their mistake and advised Plaintiffs via letter that

    Plaintiffs did not need flood insurance; despite this, BOA never credited the

    overpayments.

13. BOA is not a party-Defendant to this lawsuit and this information is only plead

    to support Plaintiffs’ allegations that Defendants BNY, Bayview, and Rubin

    continue to try to collect an inflated, incorrect amount of a debt, a violation of

    the Fair Debt Collection Practices Act (“FDCPA”).

                         The 2017 Bankruptcy Action

14. BOA’s actions detailed above caused Plaintiffs severe financial hardship, so

    much so, Plaintiffs were forced to file for bankruptcy protection on or about

    September 30, 2017 (the “2017 Bankruptcy”).




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15. During the course of the 2017 Bankruptcy action, Plaintiffs made payments

    to America’s Wholesale Lender (a fictitious name for Countrywide Financial

    Corp. that also identified itself on correspondence as “New York

    Corporation”), Bayview’s predecessor-in-interest, directly.

16. During the 2017 Bankruptcy Action and as a result of Plaintiffs discussions

    with Bayview, Plaintiffs authorized BOA to transfer funds to the Bankruptcy

    Trustee.

17. BOA failed to authorize a transfer of funds from Plaintiffs to Bayview, despite

    sufficient funds in Plaintiffs’ bank account, and as a result the 2017

    Bankruptcy Action was dismissed.

        Post-2017-Bankruptcy Mortgage Modification with Bayview

18. Upon learning that Bayview was the new mortgage servicer, Plaintiffs and

    their Bankruptcy Counsel discussed a mortgage modification with Defendant

    Bayview.

19. After BOA failed to authorize the transfer of funds from Plaintiffs to Bayview

    and the dismissal of the 2017 Bankruptcy Action, Plaintiffs attempted to make

    monthly mortgage payments to Bayview in January and February of 2019.

20. Bayview returned the checks and advised Plaintiffs over the telephone that

    Plaintiffs’ mortgage was in foreclosure.

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21. Bayview’s returning of Plaintiffs’ checks and decision to place the mortgage

    in foreclosure is based upon improperly calculated arrearages, interest,

    penalties, and fees; to wit, amounts that include inflated and improper

    amounts originally charged by BOA.

           Defendants Actions Giving Rise to Plaintiffs’ Claims

22. During all oral and written correspondence to Bayview, Plaintiffs advised

    Bayview that their records of the arrears, interest, and fees on the mortgage

    were inflated and improper amounts originally charged by BOA.

23. Despite being on notice of the inflated and improper amounts, Bayview sent

    Plaintiffs a notice of foreclosure sale (“Foreclosure Notice”) to occur on May

    7, 2019.

24. The Foreclosure Notice that did not include contact information for BNY.

25. On or about April 29, 2019 Plaintiffs filed a verified declaratory judgment

    and motion for ex parte temporary restraining order (the “Original

    Complaint”) pro se against Defendants.

26. On May 6, 2019, the day before the foreclosure was to occur, Judge Emily

    Richardson of Fulton County Superior Court entered an Order granting

    temporary restraining order to Plaintiffs to maintain the status quo and




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    restraining Defendants from selling the Property at public auction through

    June 5, 2019.

27. Defendants filed the notice of removal, effectively removing the above case

    to this United States District Court for the Northern District of Georgia.

28. Defendant BNY is the successor-in-interest to BOA regarding the Security

    Deed.

29. Serving as BNY’s mortgage servicer, Bayview is an agent of BNY.

30. Serving as legal counsel to Bayview, Rubin is an agent of Bayview.

31. Collectively, Defendants were placed on notice by Plaintiff that BOA charged

    a premium to Plaintiff for forced-placed flood insurance, admitted the

    mistake, and did not adjust the amount owed by Plaintiff.

32. Despite this notice, Defendants rejected Plaintiff’s January and February

    monthly mortgage payments.

33. Despite this notice, Defendants sent notice of foreclosure to Plaintiffs and

    scheduled the foreclosure sale for May 7, 2019.

34. Despite this notice, Defendants, in their communications to Plaintiffs,

    knowingly made false representations of the amount of the debt.




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35. Defendants charging interest, fees, and penalties on arrears they knew to be

    inaccurate has caused Plaintiffs’ financial harm in an amount to be determined

    at trial.

36. Defendants’ actions have caused Plaintiffs to incur unnecessary legal costs

    including reasonable attorney’s fees.

                 COUNT I: VIOLATION OF THE
       FAIR DEBT COLLECTION PRACTICES ACT (“FDCPA”)
                    (Against All Defendants)

37. Plaintiffs restate allegations contained in Paragraphs 1 through 36 of their

    Amended Complaint as if set forth fully herein.

38. Defendant BNY is debt collector under the FDCPA because BNY is a

    creditor who, in the process of collecting its own debts, uses a name other than

    its own to indicate that a third person is collecting or attempting to collect

    such debts.

39. Defendant Bayview is a debt collector under the FDCPA because it uses the

    mail for the purpose of collection of debts, directly and indirectly, debts owed

    or due to another.

40. Defendant Rubin is a debt collector under the FDCPA because it uses the mail

    for the purpose of collection of debts, directly and indirectly, debts owed or

    due to another.

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41. Plaintiffs are the object of Defendants debt collection activity: to wit,

    Defendants rejected Plaintiff’s January and February monthly mortgage

    payments, sent notice of foreclosure to Plaintiffs and scheduled the

    foreclosure sale for May 7, 2019.

42. Defendants, in their communications to Plaintiffs, knowingly made false

    representations of the amount of the debt; specifically, Defendants knowingly

    attempted and are attempting to collect an amount that bears interest, fees, and

    penalties on arrears Defendants know to be inaccurate.

43. Due to Defendants’ actions, Plaintiffs have suffered damages as a result of

    severe emotional and physical distress in an amount to be determined at trial.

44. Under the FDCPA, Plaintiffs may be entitled to their attorney’s fees and cost

    in an amount to be determined at trial.

                COUNT II: WRONGFUL FORECLOSURE
                      (Against All Defendants)

45. Plaintiffs restate allegations contained in Paragraphs 1 through 44 of their

    Amended Complaint as if set forth fully herein.

46. In Georgia, a wrongful foreclosure claim may be asserted even though a debt

    is in default and it may be based upon fraud, intentional tort, negligence,

    breach of contract by the creditor, or intentional failure to comply with a

    statutory duty.
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47. Defendants have a statutory duty to Plaintiffs to exercise the power of sale

    fairly and in a good faith.

48. Defendants breached a duty to Plaintiffs when they knowingly made false

    representations of the amount of the debt and pursued foreclosure based on

    those false representations.

49. Due to Defendants’ breach of duty to Plaintiffs and Defendants’ wrongful

    foreclosure, Plaintiffs have suffered physical and emotional damages.

50. As a result of Defendants’ wrongful foreclosure, Plaintiffs have incurred

    attorney’s fees and expenses to bring the Original Complaint and file this

    Amended Complaint.

 COUNT III: ATTORNEY’S FEES PURSUANT TO O.C.G.A. § 13-6-11
                  (Against All Defendants)

51. Plaintiffs restate allegations contained in Paragraphs 1 through 50 of their

    Amended Complaint as if set forth fully herein.

52. Defendants actions as described herein have been in bad faith, have caused

    Plaintiffs unnecessary trouble and expense, and have shown stubborn

    litigiousness, and as a result thereof, Plaintiffs should be entitled to recover

    their expenses of litigation.




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                                PRAYER FOR RELIEF

         WHEREFORE, Plaintiffs respectfully pray for the following relief from this

Court:

 1)      Plaintiffs be awarded judgment on their claim for Defendants’ Violation of

         the Fair Debt Collection Practices Act and damages for Plaintiffs’ emotional

         and physical damages and attorney’s fees;

 2)      Plaintiffs be awarded judgment on their claim for Defendants’ Wrongful

         Foreclosure and damages for Plaintiffs’ financial and emotional damages

         and attorney’s fees;

 3)      Plaintiffs be awarded their reasonable attorney’s fees from all Defendants

         and court costs pursuant to O.C.G.A. § 13-6-11;

 4)      Judgment be entered in favor of Plaintiffs against all Defendants in

         accordance with the evidence presented at trial and applicable law; and

 5)      Plaintiffs be awarded such other relief as this Court deems just.

         Respectfully submitted this 15th day of October, 2019.

                                          WEENER & NATHAN, LLP

                                          Devin B. Phillips
                                          Devin B. Phillips
                                          Georgia Bar No.: 189782
                                          Attorney for Plaintiffs

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             CERTIFICATION OF TYPE SIZE COMPLIANCE

      Pursuant to Local Rule 5.1C, ND Ga. and Standing Order No. 04-01, the

foregoing pleading is prepared in Times New Roman, 14-point.

                         CERTIFICATE OF SERVICE

      I certify that I have this day electronically filed this Response to Motion to

Dismiss using CM/ECF system which will automatically send email notification to

the following attorneys of record:

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      This 15th day of October, 2019.




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                                         Respectfully submitted,

                                         WEENER & NATHAN LLP

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